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        Leia V. Leitner, Esq.
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3       189 S. Orange Avenue, Suite 810
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4       leia@watsonllp.com

5
                                   UNITED STATES DISTRICT COURT
6
                                    MIDDLE DISTRICT OF FLORIDA
7                                        ORLANDO DIVISION
8                                                    §
        UNITED STATES OF AMERICA, EX                 §
9       REL., BARBARA BERNIER,                       §
                                                     §   Case No.: 6:16-cv-00970-RBD-TBS
10                    Plaintiff,                     §
                                                     §
11
                vs.                                  §   MEMORANDUM OF LAW IN
                                                     §   OPPOSITION TO DEFENDANTS’
12
        INFILAW CORPORATION;                         §   MOTION TO STAY
13      CHARLOTTE SCHOOL OF LAW, LLC,                §
                                                     §
14                    Defendants.                    §
                                                     §
15                                                   §
                                                     §
16
                 Relator, BARBARA BERNIER, by and through her undersigned counsel, hereby
17
        files this Memorandum of Law in Opposition to Defendants’, INFILAW CORPORATION
18

19      and CHARLOTTE SCHOOL OF LAW, LLC (collectively hereinafter referred to as

20      “Defendants”), Motion to Stay, Doc. 60, and in support thereof, states as follow:

21         I.         INTRODUCTION.

22               Defendants attempt to delay the prosecution of this lawsuit by filing the instant
23      motion to stay discovery pending resolution of their Motion to Dismiss Relator’s Amended
24
        Complaint. Doc. 53. Defendants, however, cannot meet their burden to show that this
25




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        Court should depart from the well-established procedures contained in the Federal Rules

3       of Civil Procedure, the Middle District of Florida’s Discovery Handbook, and applicable

4       case law indicating that, absent exceptional circumstances, discovery should proceed a

5       motion to dismiss is pending. In fact, Defendants cannot adequately demonstrate that they

6       will be unduly prejudiced if discovery proceeds, just as Defendants cannot show that
7       Relator’s amended complaint “demonstrates that Bernier still cannot satisfy the pleading
8
        standards.” Doc. 60 at 1. A cursory review of Defendants’ motion to dismiss, however,
9
        will reveal that it is due to be denied because Relator has adequately met the notice pleading
10
        standard under Rule 8, and the heightened pleading standard under Rule 9(b).
11
                 Defendants’ position that a stay is appropriate is inconsistent with their written
12
        responses to Relator’s discovery requests 1 agreeing that they will produce certain
13
        documents, and fully executing a Confidentiality Agreement as to those documents
14
        between the parties. Despite this, Defendants now claim that they will not produce the
15

16      documents responsive to Relator’s discovery requests until resolution of the instant Motion

17      to Stay and pending Motion to Dismiss. This position has thwarted Plaintiff’s ability from

18      gathering the pertaining information before submission of its expert witness disclosures

19      and reports before the deadline of October 8, 2018 set by this Court’s Case Management
20      and Scheduling Order. Doc. 43 at 3.
21

22

23
        1
         On December 18, 2017, Defendants served written discovery responses to Bernier’s First Request for
24      Production of Documents agreeing to produce certain documents (i.e. Request Nos. 27, 29, 30, 31, 33, 34,
        47, 48, 49, 50, 51, and 53), but now claim that the pending motion to dismiss, and instant motion, somehow
        absolves them from producing these documents.
25




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                    For the reasons stated below, the Defendants have failed to establish any factual,

3       practical, or legal basis to prevent discovery from proceeding in this case. In short,

4       Defendants have not asserted any reasonable grounds upon which this Court should stay

5       discovery, and this case should proceed under normal discovery procedures so as not to

6       disturb the deadlines set forth in this Court’s Case Management and Scheduling Order. See
7       generally Doc. 43.
8
              II.      BACKGROUND.
9
                    On June 6, 2016, Bernier filed the instant qui tam action under seal against the
10
        Defendants who were collectively involved in a scheme to defraud the federal
11
        government out of millions of dollars through substantial misrepresentations made in
12
        connection with the nature of its academic programs in order to obtain Title IV federal
13
        funding. See generally Doc. 1. On November 10, 2017, Bernier filed an amended
14
        complaint, under seal, which is the operative complaint before this Court at this time.
15

16      Doc. 48. As detailed in Bernier’s Second Amended Complaint, Defendants’ scheme is

17      predicated on submission of false claims to the Department of Education (“DOE”), which

18      was achieved by falsely, and impliedly, representing every year that it was in compliance

19      with Title IV, and its implementing regulations, as well as the PPA, and re-certifications.
20      Id.
21
                    On December 4, 2017, Defendants filed their motion to dismiss. Doc. 53. On
22
        December 22, 2017, Bernier responded in opposition. Doc. 56. On January 9, 2018,
23
        Defendants filed their Reply in Support of their Motion to Dismiss Amended Complaint.
24
        Doc. 59. On January 19, 2018, Defendants’ filed their Motion to Stay Discovery based
25




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        on the pendency of their motion to dismiss, despite withholding certain documents they

3       have indicated in written response would produce. Doc. 60. For the reasons stated

4       below, Defendants’ motion for stay of discovery is due to be denied.

5          III.      LEGAL STANDARD.

6                 A request to stay discovery pending a resolution of a motion is rarely appropriate
7       unless resolution of the motion will dispose of the entire case.” Mid-Continent Cas. Co. v.
8
        G.R. Constr. Mgmt., Inc., No. 2:17-CV-55-FTM-38CM, 2017 WL 3394231, at *2 (M.D.
9
        Fla. Aug. 8, 2017) (citing McCabe v. Foley, 233 F.R.D. 683, 685 (M.D. Fla. 2006) (citation
10
        omitted). To this end, the court must take a “preliminary peek” at the merits of the
11
        dispositive motion to see if it “appears to be clearly meritorious and truly case dispositive.”
12
        Id. (citation and internal quotation marks omitted). This does not require the Court to
13
        decide on a pending dispositive motion. See Feldman v. Flood, 176 F.R.D. 651, 652 (M.D.
14
        Fla. 1997). The Court must also balance the harm produced by a delay in discovery against
15

16      the possibility the motion will be granted and entirely eliminate the need for such

17      discovery, which involves “weighing the likely costs and burdens of proceeding with

18      discovery.” McCabe, 233 F.R.D. at 685 (citation and quotation marks omitted). The Court

19      has broad discretion to stay discovery pending resolution of a dispositive motion.
20      Hovermale v. Sch. Bd. of Hillsborough Cty Fla., 128 F.R.D. 287, 289 (M.D. Fla. 1989).
21
           IV.       ARGUMENT
22
                  Defendant’s Motion to Stay discovery is due to be dismissed for a multitude of
23
        reasons. First, the Federal Rules of Civil Procedure and the Middle District of Florida’s
24
        Discovery Handbook do not support a stay of discovery pending the resolution of a motion
25




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        to dismiss. Second, the Defendants have not, and cannot meet, the heavy burden of

3       showing of prejudice to show that a stay of discovery is warranted. Third, a preliminary

4       peek at Defendants’ motion to dismiss will indicate that a stay is improper because Relator

5       has met the pleading standards for a FCA action under the Federal Rules of Civil Procedure.

6       For these reasons alone, this court should not hesitate to deny Defendants’ motion to stay.
7              A.      The Rules Governing Discovery Do Not Support A Stay Of Discovery
                       Because Motions To Stay Discovery Tend To Delay Resolution Of
8
                       Proceedings, Creates Case Management Problems, And Cause
9
                       Unnecessary Litigation Expenses.

10             As an initial matter, the Federal Rules of Civil Procedure do not provide that a

11      defendant in a false claims act to unilaterally stop all discovery by simply filing a motion

12      to dismiss. The drafters of the Federal Rules of Civil Procedure would have added a

13      provision that contemplated that a motion to dismiss would stay discovery as a matter of
14
        course. It did not. Such a delay would increase litigation expenses and prevent a plaintiff
15
        from expeditiously litigating his or her claims. See Chrysler Int'l Corp. v. Chemaly, 280
16
        F.3d 1358, 1360 (11th Cir.2002) (“Given the caseload of most district courts and the fact
17
        that cases can sometimes stretch out over years, district courts must have discretion and
18
        authority to ensure that their cases move to a reasonably timely and orderly conclusion.”).
19
               The Middle District Court of Florida’s Discovery Handbook explicitly states that
20
        stays of discovery are rarely granted, and states the following:
21

22
                       Stays of Discovery. Normally, the pendency of a motion to
                       dismiss or a motion for summary judgment will not justify a
23                     unilateral motion to stay discovery pending resolution of the
                       dispositive motion. Such motions for stay are rarely granted.
24                     However, unusual circumstances may justify a stay of
                       discovery in a particular case upon a specific showing of
25




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                       prejudice or undue burden. This policy also applies to cases
                       referred to arbitration or mediation under the Local Rules.
3
               See Middle District Discovery (2015) at 5. (emphasis added); see also United States
4
        v. Space Coast Medical Associates, L.L.P., No. 6:13–cv–1068–ORL–22TBS, 2014 WL
5
        12616951 at *2 (M.D. Fla. Dec. 3, 2014) (denying a motion to stay discovery pending the
6
        resolution of a pending motion to dismiss relator’s false claims act complaint because “the
7
        Court was not convinced of “an immediate and clear possibility” that the motion to dismiss
8

9
        will significantly narrow the issues or dispose of Plaintiffs’ entire second amended

10      complaint.”)

11             As a procedural matter, Defendants motion to stay is not supported by the rules

12      governing discovery recognized in this district, absent a showing of prejudice or undue

13      burden, for a false claims action, or any claim for that matter. Thus, this court should not
14
        hesitate to deny Defendants’ motion to stay.
15
               B.      Defendants’ Fail To Meet Their Heavy Burden Of Showing Specific
16                     Prejudice Or Undue Burden Because They Fail To Articulate Any
                       Showing Of Prejudice Or Undue Burden In Responding To Bernier’s
17                     Discovery Requests.

18             Defendants fail to meet their heavy burden of establishing the requisite grounds for

19      a discovery stay because they have not pointed out a specific reason why the production of
20      documents to Relator’s requests are unfairly prejudicial or unduly burdenson. See Feldman
21
        v. Flood, 176 F.R.D. 651, 652 (M.D. Fla. 1997) (“Such motions are generally not favored
22
        because when discovery is delayed or prolonged it can create case management problems
23
        which impede the Court’s responsibility to expedite discovery and cause unnecessary
24
        litigation expenses and problems.”). To be sure, Defendants simply point to the anticipated
25




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        burden “to search for, collect, store, process, and review years of data on dozens of topics

3       from a large number of custodians, and perhaps tens or hundreds of thousands of

4       documents.” See Doc. 60 at 11. (emphasis added). Therefore, Defendants’ actions can

5       only be interpreted as a dilatory tactic meant to prevent Relator from proceeding forward

6       with the instant lawsuit.
7              The other sister district courts have made clear that speculation regarding the
8
        potential burdensome of future discovery requests is legally insufficient. See Gannon v.
9
        Flood, No. 08-60059-CIV, 2008 WL 793682, at *1 (S.D. Fla. Mar. 24, 2008) (holding that
10
        no broad rule exists that discovery should be deferred whenever there is a pending motion
11
        to dismiss); Bocciolone v. Solowsky, No. 08-20200-CIV, 2008 WL 2906719, at *2 (S.D.
12
        Fla. July 24, 2008) (denying a motion to stay pending resolution of motion to dismiss and
13
        requiring a “specific showing of prejudice or burdensomeness”).
14
               Additionally, Defendants may already have some of the documents responsive to a
15

16      majority of Relator’s discovery requests because a group of former CSOL law students

17      have filed a class action suit raising similar allegations against the Defendants that is

18      currently pending before the North Carolina Western District. See Spencer Krebs, et. al.

19      v. Charlotte School of Law, LLC, Case No. 3:17-cv-00190-GCM, Doc. 120, (N.C. filed
20      December 18, 2017). This court has scheduled the parties’ discovery cutoff deadline for
21
        August 31, 2018, and, thus, there is a great likelihood that Defendants already have some
22
        of the documents responsive to Relator’s discovery requests in their possession, custody,
23
        or control. Thereby, eliminating any undue burden in connection with obtaining the
24

25




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        documents responsive to Bernier’s discovery requests. For these reasons alone,

3       Defendants’ motion to stay should be denied.

4              C.      Defendants’ Pending Motion To Dismiss Relator’s Amended
                       Complaint Does Not Warrant A Stay Because A Preliminary Peek At
5                      The Merits Of The Defendants’ Motion To Dismiss Will Reveal That A
                       Stay is Improper.
6
               A “preliminary peek at the merits of [defendants’] dispositive motion” will make it
7
        clear that the motion to stay should be denied. CheckFree Corp. v. Metavante Corp., No.
8

9
        3:12-CV-15-J-34JBT, 2012 WL 12904296, at *2 (M.D. Fla. June 22, 2012) (“even

10      assuming that the Dispositive Motion is “clearly meritorious,” which the Court cannot

11      conclude at this time, it is admittedly not truly case dispositive because it would not dispose

12      of all of the counterclaims.”). Here, Bernier’s opposition to Defendant’s motion to dismiss

13      more than adequately addresses the arguments any pleading deficiencies in the amended
14
        complaint. See generally Doc. 56. And, Bernier’s amended Complaint provides ample
15
        evidence of the process, means, and underworking of Defendants’ fraudulent scheme, as
16
        well as her knowledge thereof, to survive Defendants’ Rule 9(b) challenge. See generally
17
        Doc. 48. For example, Bernier’s amended complaint details how Defendants made false
18
        certifications and annual re-certifications to the Government that they complied with Title
19
        IV and its implementing regulations as condition for payment for federal funding which
20
        necessarily included, inter alia, implied compliance with ABA standards and avoidance of
21

22
        incentive compensation ban. E.g. Doc. 48 at 35.

23             Relator’s amended complaint indicates how these submissions to the Government

24      represented that CSOL had complied with all federal requirements for Title IV funding,

25      CSOL violated Title IV by providing faculty members with incentive-based compensation



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        for enrollment activities, Doc. 48 at 72, 118; admitted academically underqualified students

3       at the law school, id. at 58, 118, altered the CSOL student handbook with respect to

4       minimum GPA requirements and then certified to the Government that those students were

5       making satisfactory academic progress and had a reasonable expectation of graduating, id.

6       at 83, 118; and manipulated Bar exam and employment statistics, which was materially
7       misleading in light of students and potential students’ ability to evaluate the truthfulness of
8
        CSOL’s advertisements concerning same, id. at 28.
9
               The amended complaint is not due for dismissal, and Defendants’ motion to stay
10
        should be denied. See Schreiber v. Kite King's Lake, LLC, No. 2:10-CV-391, 2010 WL
11
        3909717, at *2 (M.D. Fla. Oct. 1, 2010) (“After a quick peek at the Motion to Dismiss,
12

13      the Court believes that the case will most likely survive the Motion to Dismiss, because

14      the Complaint sufficiently alleges that the Plaintiff will return to the premises in the near
15
        future. As such, the Court does not find good cause to stay the discovery at this time.”);
16
        see also In re Winn Dixie Stores, Inc. Erisa Litig., No. 304-CV-194J-33MCR, 2007 WL
17
        1877887, at *1 (M.D. Fla. June 28, 2007) (recognizing the “narrower proposition that
18

19      courts should not delay ruling on a likely meritorious motion to dismiss while undue

20      discovery costs mount.”)
21
               To make matters worse, Defendants mistakenly rely on cases that do not remotely
22
        come close to the factual scenario in this action. For example, Defendants cite to
23
        Chudasama v. Mazda Motor Corp., 123 F.3d. 1353, 1366-67 (11th Cir. 1997) for the
24
        proposition that facial challenges to the legal sufficiency of a claim or defense, such a
25




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         motion to dismiss based on a failure to state a claim for relief. See 123 F.3d. at 1366-67

3        (declining to stay discovery pending resolution of a motion to dismiss where the claims

4        sought to be dismissed were not “sufficiently dubious”). In Chudasama, the district court

5        had unduly delayed deciding a motion to dismiss, which was fully briefed, for over a year

6        and a half, that led to the Eleventh Circuit’s conclusion that a stay was appropriate while
7        the dispositive motion was pending. 123 F.3d. at 1368. As this court is aware, the Eleventh
8
         Circuit’s “primary concern in Chudasama was with the district court’s delay and
9
         prolonging of the parties’ discovery and costs unnecessarily.” See Gannon v. Flood, No.
10
         08-60059-CIV, 2008 WL 793682, at *1 (S.D. Fla. Mar. 24, 2008) (denying the defendant’s
11
         motion to stay and recognizing discovery need not be deferred whenever there is a pending
12
         motion to dismiss.)
13
                Clearly, the Chudasama case is factually distinguishable from the case at bar
14
         because Defendant’s Motion to Dismiss and Memorandum of Law did not become ripe
15

16       until January 9, 2018. See Doc. 59. This Court has not delayed in adjudicating the Motion

17       to Dismiss and, thus, has not unnecessarily prolonged discovery. Discovery has only just

18       begun, with the instant action having been filed on June 6, 2016. Discovery cutoff is March

19       22, 2019. See Doc. 43 at 3. Therefore, the instant action is comparable to the findings in
20       Chudasama and a stay is not warranted. Chudasama, 123 F.3d. at 1368. And, the
21
         Defendants have failed to demonstrate that discovery should be stayed pending the
22
         resolution of the Motion to Dismiss.
23
                The other cases cited by Defendants are likewise dissimilar and do not support a
24
         stay of this matter. Defendants mistakenly rely on cases that support the proposition that
25




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         district courts in this Circuit routinely stay discovery in FCA actions until the pleadings are

3        resolved. See U.S. ex. rel. Mastej v. Health Mgmt. Assoc., Inc., 869 F. Supp. 2d. 1336,

4        1350 (M.D. Fla. 2012) ; U.S. ex. Rel. Fla. Soc. of Anesthesiologist v. Choudry, 2016 WL

5        7205970, at *3 (M.D. Fla. Oct. 11, 2016) (recognizing that relator’s second amended

6        complaint was devoid of any factual allegations of connecting two scheme of frauds to the
7        Defendants, and against certain Defendants’ actions in violation of the false claims act and,
8
         thus, granting Defendants’ motion to stay discovery); U.S. ex. rel. Johnson v. E-Med
9
         Source of Fla., Inc., 2016 WL 7205970, at *3 (M.D. Fla. Oct. 11, 2016) (granting an
10
         unopposed motion to stay discovery until after the defendant files an answer); U.S. ex. rel.
11
         Bumbury v. Med-Care Diabetic & Med. Supplies, Inc., 2014 WL 12284078, at *1 (S.D.
12
         Fla. June 17, 2014) (granting a motion to stay discovery pending resolution of employer’s
13
         motion to dismiss relator’s complaint to determine whether relator had knowledge of
14
         Defendants’ acts during her three months of employment). Unlike the authorities cited by
15

16       Defendants, Relator alleged nearly fourteen pages of facts to support her FCA action, she

17       had first-hand knowledge of Defendants’ fraudulent scheme, and was exposed to

18       Defendants’ misconduct because she was employed by CSOL for several years. See

19       generally Doc. 48. Thus, the factual allegations asserted therein are inapplicable to the
20       facts circumstance involved in this instant FCA action.
21
                Defendants further allege that even if Bernier’s claims were to survive dismissal,
22
         there is still good cause for a stay until the Court determines which claims, if any, might
23
         survive. Doc. 60 at 10. In support of this argument, Defendants point to United States v.
24
         Capital Grp. Health Servs. Of Fla., No. 4:02-cv-389-RH/WCS, 2005 WL 1364619 (N.D.
25




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         Fla. June 7, 2005) for the proposition that the court limited discovery even after concluding

3        that some claims survived dismissal. Id. In Capital Group, the plaintiff alleged that a

4        doctor and HMO had an illegal kickback arrangement, wherein the HMO would refer

5        patients to the doctor, and in return, the doctor did not hospitalize all of the patients that

6        required hospitalization in an effort to reduce hospitalization costs for the HMO. Id. The
7        court rejected the plaintiff's argument that the alleged failure to hospitalize patients could
8
         constitute remuneration under the AKS. Id.
9
                 This district, however, disagreed, and is not bound by the reasons in support of
10
         dismissal in the Capital Group case. Id; See also U.S. ex rel. Freedman v. Suarez-Hoyos,
11
         781 F. Supp. 2d 1270, 1281 (M.D. Fla. 2011) (denying Defendant’s motion to dismiss on
12
         the basis that relator’s claims sufficiently alleged renumeration in violation of the AKS).
13
         Therefore, this Court does not need to look any further at the Capital Group case at to the
14
         issues of dismissal for false claims acts, nor its conclusions for limiting discovery. Id.
15

16          V.      CONCLUSION.

17               Defendant’s Motion to Stay discovery is unwarranted and should be denied

18       accordingly. First, the Federal Rules of Civil Procedure and the Middle District of

19       Florida’s Discovery Handbook do not support a stay of discovery pending the resolution
20       of a motion to dismiss. Second, the Defendants have not, and cannot meet, the heavy
21
         burden of showing of prejudice to show that a stay of discovery is warranted. Third, a
22
         preliminary peek at Defendants’ motion to dismiss will indicate that a stay is improper
23
         because Relator has met the pleading standards for a FCA action under the Federal Rules
24
         of Civil Procedure. Thus, Defendants’ motion to stay should be denied.
25




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                WHEREFORE, Relator, BARBARA BERNIER, respectfully requests that this

3        Court enter an order denying Defendants’, INFILAW CORPORATION and

4        CHARLOTTE SCHOOL OF LAW, LLC, Motion to Stay, and for such other further relief

5        deemed appropriate.

6

7        DATED on February 2, 2018
                                                  Respectfully submitted,
8

9                                                  /s/ Leia V. Leitner
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                                                   Attorneys for Relator,
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                                                   BARBARA BERNIER
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21                                  CERTIFICATE OF SERVICE

22               I HEREBY CERTIFY that on February 2, 2018, pursuant to Fed. R. Civ. P. 5, I
         electronically filed the foregoing with the Clerk of Court by using the CM/ECF system,
23       which will send an electronic notice to the following lead counsel of record in this
         proceeding:
24
                       LAW OFFICES OF MARK L. HORWITZ, P.A.
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          MEMORANDUM OF LAW IN OPPOSITION TO                                WATSON LLP
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          Case No.: 6:16-cv-00970-RBD-TBS                         Tel: (407) 377-6634 / Fax: (407) 377-6688
     Case 6:16-cv-00970-RBD-TBS Document 61 Filed 02/02/18 Page 14 of 14 PageID 811



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